Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document     Page 1 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document     Page 2 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document     Page 3 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document     Page 4 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document     Page 5 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document     Page 6 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document     Page 7 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document     Page 8 of 59
                      Case 8:19-bk-11384-TA
 Fill in this information to identify your case:
                                                                                Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21                                                                   Desc
                                                                                Main Document     Page 9 of 59
  Debtor 1                         Dominic                                                   Caruso
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                           Central District of California

  Case number                                                                                                                                                                       ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $946,700.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                               $20,000.00


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $966,700.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $891,567.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                    $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                 $10,753.00


                                                                                                                                                                  Your total liabilities                    $902,320.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $2,500.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $7,324.00




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
 Debtor 1         Case 8:19-bk-11384-TA
                    Dominic                                   Doc 1Caruso
                                                                        Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                                 Case number (if known)                           Desc
                      First Name             Middle Name      Main Last
                                                                    Document
                                                                        Name       Page 10 of 59

 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                  $2,500.00




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                                  $0.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                           page 2 of 2
                       Case 8:19-bk-11384-TA
 Fill in this information to identify your case and this filing:
                                                                                Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21                                                               Desc
                                                                                Main Document    Page 11 of 59
  Debtor 1                          Dominic                                                 Caruso
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                          Central District of California
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     Single Family Home                                              What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
              18771 Flagstaff Lane                                           ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
               Huntington Beach, CA 92646                                    ❑ Land                                                                                  $946,700.00                    $946,700.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
              Orange
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                             ✔ Debtor 1 only
                                                                                                                                                           Fee Simple
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             LOT 2 OF TRACT NO. 8332, IN THE CITY OF HUNTINGTON BEACH, COUNTY OF ORANGE, STATE
                                                                             OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 367 PAGES 36 AND 37 OF MISCELLANEOUS
                                                                              MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

                                                                             Source of Value:
                                                                             Redfin.com
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $946,700.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
 Debtor 1             Case 8:19-bk-11384-TA
                        Dominic                                                 Doc 1Caruso
                                                                                          Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                                                   Case number (if known)
                                                                                                                                                                                           Desc
                            First Name                    Middle Name           Main Last
                                                                                      Document
                                                                                          Name       Page 12 of 59


 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   GX Lexus                  Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   470
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2007                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   133000                                                                                                  entire property?            portion you own?
            Approximate mileage:                                                                                                                                         unknown                    unknown
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




      If you own or have more than one, list here:

       3.2 Make:                                   Forrester                 Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Subaru
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2004                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the        Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   135000                                                                                                  entire property?            portion you own?
            Approximate mileage:                                                                                                                                         $2,500.00                  $2,500.00
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                 ➜              $2,500.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                    Current value of the
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

 6. Household goods and furnishings
       Examples:       Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                Household goods and furnishings
                                                                                                                                                                                                       $650.00




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                     page 2
 Debtor 1              Case 8:19-bk-11384-TA
                         Dominic                                                   Doc 1Caruso
                                                                                             Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                                                      Case number (if known)
                                                                                                                                                                                      Desc
                            First Name                      Middle Name            Main Last
                                                                                         Document
                                                                                             Name       Page 13 of 59


 7. Electronics
       Examples:        Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                        electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 Electronics                                                                                                                                   $650.00



 8.    Collectibles of value
       Examples:        Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                        stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:        Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                        carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 Equipment for sports and hobbies                                                                                                              $650.00



 10.    Firearms
        Examples:         Pistols, rifles, shotguns, ammunition, and related equipment

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 1 Firearm                                                                                                                                     $400.00



 11.    Clothes
        Examples:         Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 Clothes                                                                                                                                       $650.00



 12.    Jewelry
        Examples:         Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        ✔ No
        ❑
        ❑ Yes. Describe........


 13.    Non-farm animals
        Examples:         Dogs, cats, birds, horses
        ✔ No
        ❑
        ❑ Yes. Describe........

 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜          $3,000.00




Official Form 106A/B                                                                                        Schedule A/B: Property                                                           page 3
 Debtor 1               Case 8:19-bk-11384-TA
                          Dominic                                                          Doc 1Caruso
                                                                                                     Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                                                              Case number (if known)
                                                                                                                                                                                                         Desc
                              First Name                         Middle Name               Main Last
                                                                                                 Document
                                                                                                     Name       Page 14 of 59


 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                         Current value of the
                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                                      claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes........................................................................................................................................................   Cash..............


 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                       Institution name:



 17.1. Checking account:                                Chase                                                                                                                               unknown


 17.2. Checking account:


 17.3. Savings account:                                 Chase                                                                                                                               unknown


 17.4. Savings account:


 17.5. Certificates of deposit:


 17.6. Other financial account:


 17.7. Other financial account:


 17.8. Other financial account:


 17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:           Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
            information about
            them...................

 Name of entity:                                                                                                                    % of ownership:



Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                    page 4
 Debtor 1            Case 8:19-bk-11384-TA
                       Dominic                                  Doc 1Caruso
                                                                          Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                                   Case number (if known)
                                                                                                                                                Desc
                          First Name            Middle Name     Main Last
                                                                      Document
                                                                          Name       Page 15 of 59


 Funback Investments California Corporation Service Corporation                           100              %                            $0.00



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:        Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:        Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                        professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....




Official Form 106A/B                                                               Schedule A/B: Property                                              page 5
 Debtor 1          Case 8:19-bk-11384-TA
                     Dominic                                    Doc 1Caruso
                                                                          Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                                   Case number (if known)
                                                                                                                                                           Desc
                       First Name               Middle Name     Main Last
                                                                      Document
                                                                          Name       Page 16 of 59

Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.


 28.   Tax refunds owed to you

       ❑ No
       ✔ Yes.
       ❑         Give specific information about         2018 | 500.00                                                          Federal:                                 $500.00
                 them, including whether you
                 already filed the returns and the                                                                              State:
                 tax years.......................
                                                                                                                                Local:


 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                                Alimony:

                                                                                                                                Maintenance:

                                                                                                                                Support:

                                                                                                                                Divorce settlement:

                                                                                                                                Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes.
       ❑         Name the insurance company
                                                           Company name:                                           Beneficiary:                        Surrender or refund value:
                 of each policy and list its value....
                                                           Mercury                                                 Third Party and the Debtors                          unknown



 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:     Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.    Describe each claim................




Official Form 106A/B                                                               Schedule A/B: Property                                                             page 6
 Debtor 1             Case 8:19-bk-11384-TA
                        Dominic                                                  Doc 1Caruso
                                                                                           Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                                                    Case number (if known)
                                                                                                                                                                                 Desc
                           First Name                      Middle Name           Main Last
                                                                                       Document
                                                                                           Name       Page 17 of 59


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ❑ No
       ✔ Yes.
       ❑            Give specific information..........                See Attached.
                                                                                                                                                                                          $14,000.00



 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜              $14,500.00



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                               Current value of the
                                                                                                                                                                               portion you own?
                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                               claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........




Official Form 106A/B                                                                                       Schedule A/B: Property                                                         page 7
 Debtor 1             Case 8:19-bk-11384-TA
                        Dominic                                                  Doc 1Caruso
                                                                                           Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                                                    Case number (if known)
                                                                                                                                                                                Desc
                           First Name                      Middle Name           Main Last
                                                                                       Document
                                                                                           Name       Page 18 of 59

 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                   $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                              Current value of the
                                                                                                                                                                              portion you own?
                                                                                                                                                                              Do not deduct secured
                                                                                                                                                                              claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




Official Form 106A/B                                                                                       Schedule A/B: Property                                                        page 8
 Debtor 1             Case 8:19-bk-11384-TA
                        Dominic                                                      Doc 1Caruso
                                                                                               Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                                                        Case number (if known)
                                                                                                                                                                                          Desc
                            First Name                       Middle Name             Main Last
                                                                                           Document
                                                                                               Name       Page 19 of 59


 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                        $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                         $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜           $946,700.00


 56.   Part 2: Total vehicles, line 5                                                                                          $2,500.00


 57.   Part 3: Total personal and household items, line 15                                                                     $3,000.00


 58.   Part 4: Total financial assets, line 36                                                                               $14,500.00


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                        $20,000.00             Copy personal property total➜     +     $20,000.00




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                          $966,700.00




Official Form 106A/B                                                                                            Schedule A/B: Property                                                           page 9
                 Case 8:19-bk-11384-TA                   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21          Desc
 Debtor 1              Dominic                           Main Caruso
                                                               Document   Page 20 of 59 Case number (if known)
                       First Name          Middle Name        Last Name



                                                         SCHEDULE A/B: PROPERTY
                                                                Continuation Page

 35. Any financial assets you did not already list
      Potential Return on Listing                                                                                       $14,000.00
      BRE License #01347643                                                                                                 $0.00




Official Form 106A/B                                                  Schedule A/B: Property
                   Case 8:19-bk-11384-TA                      Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21                                     Desc
                                                              Main Document    Page 21 of 59
 Fill in this information to identify your case:

  Debtor 1                    Dominic                                  Caruso
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                        Central District of California

  Case number                                                                                                                         ❑    Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
      ❑
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 Single Family Home                                                      $946,700.00
                                                                                         ❑                 $16,325.00             C.C.P. § 703.140(b)(5)

  18771 Flagstaff Lane Huntington Beach, CA 92646                                        ❑    100% of fair market value, up to
                                                                                              any applicable statutory limit
 Line from
 Schedule A/B:          1.1


                                                                                         ✔
 Brief description:
 2007 GX Lexus 470                                                           unknown
                                                                                         ❑                  unknown               C.C.P. § 703.140(b)(2)
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 2
 Debtor 1         Case 8:19-bk-11384-TA
                    Dominic                              Doc 1Caruso
                                                                   Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                            Case number (if known)                       Desc
                      First Name          Middle Name    Main Last
                                                               Document
                                                                   Name       Page 22 of 59

 Part 2: Additional Page

 Brief description of the property and line on          Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from      Check only one box for each exemption.
                                                        Schedule A/B

                                                                                 ✔
 Brief description:
 2004 Forrester Subaru                                               $2,500.00
                                                                                 ❑                $2,500.00               C.C.P. § 703.140(b)(2)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        3.2


                                                                                 ✔
 Brief description:
 Household goods and furnishings                                       $650.00
                                                                                 ❑                 $650.00                C.C.P. § 703.140(b)(3)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         6


                                                                                 ✔
 Brief description:
 Electronics                                                           $650.00
                                                                                 ❑                 $650.00                C.C.P. § 703.140(b)(3)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         7


                                                                                 ✔
 Brief description:
 Equipment for sports and hobbies                                      $650.00
                                                                                 ❑                 $650.00                C.C.P. § 703.140(b)(3)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         9


                                                                                 ✔
 Brief description:
 1 Firearm                                                             $400.00
                                                                                 ❑                 $400.00                C.C.P. § 703.140(b)(3)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        10


                                                                                 ✔
 Brief description:
 Clothes                                                               $650.00
                                                                                 ❑                 $650.00                C.C.P. § 703.140(b)(3)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        11


                                                                                 ✔
 Brief description:
 500.00                                                                $500.00
                                                                                 ❑                 $500.00                C.C.P. § 703.140(b)(5)

 Federal tax                                                                     ❑   100% of fair market value, up to
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:        28


                                                                                 ✔
 Brief description:
 Potential Return on Listing                                        $14,000.00
                                                                                 ❑               $14,000.00               C.C.P. § 703.140(b)(5)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:        35




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                page 2 of 2
                    Case 8:19-bk-11384-TA
 Fill in this information to identify your case:
                                                                Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21                                                 Desc
                                                                Main Document    Page 23 of 59
  Debtor 1                       Dominic                                   Caruso
                                 First Name          Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)            First Name          Middle Name          Last Name

  United States Bankruptcy Court for the:                          Central District of California

  Case number                                                                                                                                       ❑    Check if this is an
  (if known)                                                                                                                                             amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for        Column A               Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much       Amount of claim        Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                            Do not deduct the      that supports         portion
                                                                                                                        value of collateral.   this claim            If any
 2.1 Franchise Tax Board                                 Describe the property that secures the claim:                           $6,000.00                  $0.00              $6,000.00
        Creditor's Name
         PERSONAL BANKRUPTCY MS A340
         PO BOX 942867
        Number          Street
                                                         As of the date you file, the claim is: Check all that apply.

         Sacramento, CA 94267                            ❑Contingent
        City                        State     ZIP Code   ❑Unliquidated
        Who owes the debt? Check one.                    ❑Disputed
        ✔ Debtor 1 only
        ❑                                                Nature of lien. Check all that apply.
        ❑Debtor 2 only                                   ❑An agreement you made (such as mortgage or
        ❑Debtor 1 and Debtor 2 only                          secured car loan)
        ❑At least one of the debtors and another         ✔Statutory lien (such as tax lien, mechanic's lien)
                                                         ❑
        ❑Check if this claim relates to a                ❑Judgment lien from a lawsuit
           community debt
                                                         ❑Other (including a right to offset)
        Date debt was incurred
        5/13/2009                                        Last 4 digits of account number

         Add the dollar value of your entries in Column A on this page. Write that number here:                                         $6,000.00




Official Form 106D                                         Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 3
 Debtor 1       Case 8:19-bk-11384-TA
                  Dominic                                  Doc 1Caruso
                                                                     Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                              Case number (if known)                                      Desc
                       First Name           Middle Name    Main Last
                                                                 Document
                                                                     Name       Page 24 of 59

                                                                                                                   Column A               Column B              Column C
              Additional Page
                                                                                                                   Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                   Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                  value of collateral.   this claim            If any



 2.2 Internal Revenue Service                       Describe the property that secures the claim:                          $26,837.00           $946,700.00                   $0.00
     Creditor's Name
                                                     Single Family Home
      Centralized Insolvency Operation               18771 Flagstaff Lane Huntington Beach, CA 92646
      Po Box 7346
     Number          Street
                                                    As of the date you file, the claim is: Check all that apply.

      Philadelphia, PA 19101-7346                   ❑Contingent
     City                      State     ZIP Code   ❑Unliquidated
     Who owes the debt? Check one.                  ❑Disputed
     ✔ Debtor 1 only
     ❑                                              Nature of lien. Check all that apply.
     ❑Debtor 2 only                                 ❑An agreement you made (such as mortgage or
     ❑Debtor 1 and Debtor 2 only                       secured car loan)
     ❑At least one of the debtors and another       ✔Statutory lien (such as tax lien, mechanic's lien)
                                                    ❑
     ❑Check if this claim relates to a              ❑Judgment lien from a lawsuit
        community debt
                                                    ❑Other (including a right to offset)
     Date debt was incurred
     5/7/2008                                       Last 4 digits of account number




 2.3 Mr. Cooper                                     Describe the property that secures the claim:                         $700,000.00           $946,700.00                   $0.00
     Creditor's Name
                                                     Single Family Home
      Po Box 619098                                  18771 Flagstaff Lane Huntington Beach, CA 92646
     Number          Street
      Dallas, TX 75261-9098                         As of the date you file, the claim is: Check all that apply.
     City                      State     ZIP Code   ✔ Contingent
                                                    ❑
     Who owes the debt? Check one.                  ✔ Unliquidated
                                                    ❑
     ✔ Debtor 1 only
     ❑                                              ✔ Disputed
                                                    ❑
     ❑Debtor 2 only                                 Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                    ✔An agreement you made (such as mortgage or
                                                    ❑
     ❑At least one of the debtors and another          secured car loan)
     ❑Check if this claim relates to a              ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                    ❑Judgment lien from a lawsuit
     Date debt was incurred                         ❑Other (including a right to offset)
     5/18/2005

                                                    Last 4 digits of account number




      Add the dollar value of your entries in Column A on this page. Write that number here:                                     $726,837.00




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 3
 Debtor 1        Case 8:19-bk-11384-TA
                   Dominic                                 Doc 1Caruso
                                                                     Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                              Case number (if known)                                      Desc
                       First Name          Middle Name     Main Last
                                                                 Document
                                                                     Name       Page 25 of 59

                                                                                                                   Column A               Column B              Column C
              Additional Page
                                                                                                                   Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                   Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                  value of collateral.   this claim            If any



 2.4 Real Time Resolutions                          Describe the property that secures the claim:                         $150,000.00           $946,700.00                   $0.00
     Creditor's Name
                                                     Single Family Home
      Attn: Bankruptcy                               18771 Flagstaff Lane Huntington Beach, CA 92646
      PO Box 36655
     Number          Street
                                                    As of the date you file, the claim is: Check all that apply.

      Dallas, TX 75235-1655
                                                    ✔ Contingent
                                                    ❑
     City                      State   ZIP Code     ✔ Unliquidated
                                                    ❑
     Who owes the debt? Check one.                  ✔ Disputed
                                                    ❑
     ✔ Debtor 1 only
     ❑                                              Nature of lien. Check all that apply.
     ❑Debtor 2 only                                 ✔An agreement you made (such as mortgage or
                                                    ❑
     ❑Debtor 1 and Debtor 2 only                       secured car loan)
     ❑At least one of the debtors and another       ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a              ❑Judgment lien from a lawsuit
        community debt
                                                    ❑Other (including a right to offset)
     Date debt was incurred
                                                    Last 4 digits of account number




 2.5 Toyota Financial Services                      Describe the property that secures the claim:                           $8,730.00                  $0.00           $8,730.00
     Creditor's Name
                                                     2007 GX Lexus 470
      Po Box 9786
     Number          Street
      Cedar Rapids, IA 52409                        As of the date you file, the claim is: Check all that apply.
     City                      State   ZIP Code     ❑Contingent
     Who owes the debt? Check one.                  ❑Unliquidated
     ✔ Debtor 1 only
     ❑                                              ❑Disputed
     ❑Debtor 2 only                                 Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                    ❑An agreement you made (such as mortgage or
     ❑At least one of the debtors and another          secured car loan)
     ❑Check if this claim relates to a              ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                    ❑Judgment lien from a lawsuit
     Date debt was incurred                         ❑Other (including a right to offset)
     5/1/2017
                                                    Last 4 digits of account number 0            0   0    1




      Add the dollar value of your entries in Column A on this page. Write that number here:                                     $158,730.00
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                       $891,567.00
      here:




Official Form 106D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 3
                   Case 8:19-bk-11384-TA
 Fill in this information to identify your case:
                                                              Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21                                             Desc
                                                              Main Document    Page 26 of 59
  Debtor 1                   Dominic                                   Caruso
                             First Name            Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                        Central District of California

  Case number                                                                                                                               ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

                                                                     Last 4 digits of account number
        Priority Creditor's Name
                                                                     When was the debt incurred?
        Number           Street                                      As of the date you file, the claim is: Check all that
                                                                     apply.
                                                                     ❑ Contingent
                                                                     ❑ Unliquidated
                                                                     ❑ Disputed
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                              Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                              ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                 ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                        government
        ❑ Check if this claim is for a community debt                ❑ Claims for death or person injury while you were
                                                                         intoxicated
        Is the claim subject to offset?                              ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 5
 Debtor 1          Case 8:19-bk-11384-TA
                     Dominic                                   Doc 1Caruso
                                                                         Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                                  Case number (if known)
                                                                                                                                                           Desc
                       First Name              Middle Name     Main Last
                                                                     Document
                                                                         Name       Page 27 of 59
 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Capital One                                                               Last 4 digits of account number 6383                                                $4,693.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          06/01/2014
        PO Box 30285                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Salt Lake City, UT 84130
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             CreditCard

        ❑ Yes
4.2     Capital One                                                               Last 4 digits of account number 2795                                                $3,634.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          08/01/2014
        PO Box 30285                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Salt Lake City, UT 84130
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             CreditCard

        ❑ Yes
4.3     Capital One                                                               Last 4 digits of account number 8597                                                $1,509.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          09/01/2012
        PO Box 30285                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Salt Lake City, UT 84130
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             CreditCard

        ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 5
                    Case 8:19-bk-11384-TA                     Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21                               Desc
 Debtor 1              Dominic                                Main Caruso
                                                                    Document   Page 28 of 59 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim


4.4     Dell Financial Services LLC                                         Last 4 digits of account number 1842                                           $0.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          12/01/2014
        Po Box 81607
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Austin, TX 78708
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                ChargeAccount

       ❑      Yes
4.5     Franchise Tax Board                                                                                                                          unknown
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PERSONAL BANKRUPTCY MS A340
                                                                            As of the date you file, the claim is: Check all that apply.
                                                                            ✔
        PO BOX 942867
       Number           Street                                              ❑   Contingent
        Sacramento, CA 94267                                                ✔
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ✔
                                                                            ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                        divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.6     Internal Revenue Service                                                                                                                     unknown
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Centralized Insolvency Operation
                                                                            As of the date you file, the claim is: Check all that apply.
                                                                            ✔
        Po Box 7346
       Number           Street                                              ❑   Contingent
        Philadelphia, PA 19101-7346                                         ✔
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ✔
                                                                            ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                        divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 5
                    Case 8:19-bk-11384-TA                     Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21                               Desc
 Debtor 1              Dominic                                Main Caruso
                                                                    Document   Page 29 of 59 Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                   Total claim


4.7     Wells Fargo Bank                                                    Last 4 digits of account number 1271                                         $917.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          09/16/2005
        Po Box 14517
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Des Moines, IA 50306
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                UnknownLoanType

       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 5
                Case 8:19-bk-11384-TA                      Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21                                  Desc
 Debtor 1              Dominic                             Main Caruso
                                                                 Document   Page 30 of 59 Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                                $0.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                     $10,753.00
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                           $10,753.00




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5 of 5
                      Case 8:19-bk-11384-TA
 Fill in this information to identify your case:
                                                                Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21                                          Desc
                                                                Main Document    Page 31 of 59
     Debtor 1                   Dominic                                  Caruso
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                       Central District of California

     Case number                                                                                                                             ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code



Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
                      Case 8:19-bk-11384-TA
 Fill in this information to identify your case:
                                                                   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21                                       Desc
                                                                   Main Document    Page 32 of 59
  Debtor 1                        Dominic                                    Caruso
                                 First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                              Central District of California

  Case number                                                                                                                               ❑     Check if this is an
  (if known)                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                  12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ❑No. Go to line 3.
      ✔Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
      ❑
        ✔ No
        ❑
        ❑Yes. In which community state or territory did you live?                                       . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt
                                                                                                                Check all schedules that apply:
3.1                                                                                                             ❑Schedule D, line
      Name
                                                                                                                ❑Schedule E/F, line
      Number          Street                                                                                    ❑Schedule G, line
      City                                    State     ZIP Code

Official Form 106H                                                               Schedule H: Your Codebtors                                                             page 1 of 1
                   Case 8:19-bk-11384-TA
 Fill in this information to identify your case:
                                                             Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21                                           Desc
                                                             Main Document    Page 33 of 59
  Debtor 1                   Dominic                                   Caruso
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name                                                  Check if this is:

  United States Bankruptcy Court for the:                        Central District of California                                  ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                                                                                                                         chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status            ✔Employed ❑Not Employed
                                                                            ❑                                                  ❑Employed ❑Not Employed
     attach a separate page with
     information about additional              Occupation                   Self Employed Real Estate Salesperson
     employers.
                                               Employer's name              Self-Employed
     Include part time, seasonal, or
     self-employed work.
                                               Employer's address
     Occupation may include student                                          Number Street                                     Number Street
     or homemaker, if it applies.




                                                                             City                     State   Zip Code         City                    State      Zip Code
                                               How long employed there? 16 years



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                          For Debtor 1      For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.              2.                 $0.00                       $0.00

 3. Estimate and list monthly overtime pay.                                                  3.   +             $0.00      +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                             4.                 $0.00                       $0.00




Official Form 106I                                                            Schedule I: Your Income                                                                  page 1
 Debtor 1             Case 8:19-bk-11384-TA
                        Dominic                                                    Doc 1Caruso
                                                                                             Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                                                      Case number (if known)
                                                                                                                                                                             Desc
                            First Name                      Middle Name            Main Last
                                                                                         Document
                                                                                             Name       Page 34 of 59

                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.                 $0.00                    $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.                $0.00                    $0.00

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00

      5e. Insurance                                                                                                    5e.                $0.00                    $0.00

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

                                                                                                                       5h.
                                                                                                                             +             $0.00       +           $0.00
      5h. Other deductions. Specify:
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.                 $0.00                    $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.                 $0.00                    $0.00
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.             $2,500.00                   $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                $0.00                    $0.00
            Specify:
                                                                                                                       8g.                $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00



 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $2,500.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $2,500.00   +                $0.00        =       $2,500.00

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $2,500.00
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:


Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
 Debtor 1        Case 8:19-bk-11384-TA
                   Dominic                                Doc 1Caruso
                                                                    Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                             Case number (if known)
                                                                                                                                    Desc
                     First Name            Middle Name    Main Last
                                                                Document
                                                                    Name       Page 35 of 59

   8a. Attached Statement

                                                                      Business Income

   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
        1    Gross Monthly Income:                                                                                                         $2,500.00
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
        2    Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition Business
             Debts
             TOTAL PAYMENTS TO SECURED CREDITORS                                                                            $0.00

        3    Other Expenses
             TOTAL OTHER EXPENSES                                                                                           $0.00
                                                                                                                                              $0.00
        4    TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
        5    AVERAGE NET MONTHLY INCOME(Subtract item 23 from item 1)                                                                      $2,500.00




Official Form 106I                                                  Schedule I: Your Income                                                      page 4
                   Case 8:19-bk-11384-TA
 Fill in this information to identify your case:
                                                                  Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21                                       Desc
                                                                  Main Document    Page 36 of 59
  Debtor 1                   Dominic                                         Caruso
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                                                                                                         ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                            Central District of California

  Case number                                                                                                          MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                     Dependent's relationship to          Dependent's         Does dependent live
     Debtor 2.                                                                           Debtor 1 or Debtor 2                 age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                  Child                               12                       ✔Yes.
                                                                                                                                                  ❑No. ❑
                                                                                          Child                               20                       ✔Yes.
                                                                                                                                                  ❑No. ❑
                                                                                                                                                  ❑No. ❑Yes.
                                                                                                                                                  ❑No. ❑Yes.
                                                                                                                                                  ❑No. ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                 4.                     $3,500.00


     If not included in line 4:
                                                                                                                                   4a.                      $800.00
     4a. Real estate taxes
                                                                                                                                   4b.                       $75.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                   4c.                      $150.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                   4d.                        $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
 Debtor 1           Case 8:19-bk-11384-TA
                      Dominic                                  Doc 1Caruso
                                                                         Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                                  Case number (if known)     Desc
                       First Name             Middle Name      Main Last
                                                                     Document
                                                                         Name       Page 37 of 59
                                                                                                                    Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                            5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                    6a.                    $160.00

       6b. Water, sewer, garbage collection                                                                  6b.                     $80.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                    6c.                    $200.00

       6d. Other. Specify:                                                                                   6d.                      $0.00

 7.    Food and housekeeping supplies                                                                        7.                     $600.00

 8.    Childcare and children’s education costs                                                              8.                     $300.00

 9.    Clothing, laundry, and dry cleaning                                                                   9.                     $150.00

 10. Personal care products and services                                                                     10.                    $150.00

 11.   Medical and dental expenses                                                                           11.                    $300.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                            12.                    $250.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                    $100.00

 14. Charitable contributions and religious donations                                                        14.                    $100.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                             15a.                     $0.00
       15a. Life insurance
                                                                                                             15b.                     $0.00
       15b. Health insurance
                                                                                                             15c.                   $125.00
       15c. Vehicle insurance
                                                                                                             15d.                     $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                              16.                      $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                       17a.                   $284.00

       17b. Car payments for Vehicle 2                                                                       17b.

       17c. Other. Specify:                                                                                  17c.

       17d. Other. Specify:                                                                                  17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                  18.                      $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                              19.                      $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                      20a.                     $0.00

       20b. Real estate taxes                                                                                20b.                     $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                     20c.                     $0.00
       20d. Maintenance, repair, and upkeep expenses                                                         20d.                     $0.00
       20e. Homeowner’s association or condominium dues                                                      20e.                     $0.00

Official Form 106J                                                              Schedule J: Your Expenses                                     page 2
 Debtor 1        Case 8:19-bk-11384-TA
                   Dominic                                   Doc 1Caruso
                                                                       Filed 04/15/19 Entered 04/15/19   21:46:21
                                                                                                Case number (if known)   Desc
                       First Name           Middle Name      Main Last
                                                                   Document
                                                                       Name       Page 38 of 59

 21. Other. Specify:                                                                                        21.    +           $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                          22a.          $7,324.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  22b.              $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                       22c.          $7,324.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                     23a.          $2,500.00

      23b. Copy your monthly expenses from line 22c above.                                                  23b.   –       $7,324.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                            23c.         ($4,824.00)
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                               page 3
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 39 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 40 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 41 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 42 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 43 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 44 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 45 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 46 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 47 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 48 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 49 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 50 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 51 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 52 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 53 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 54 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 55 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 56 of 59
            Case 8:19-bk-11384-TA                           Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21                                     Desc
B2030 (Form 2030)(12/15)
                                                            Main Document    Page 57 of 59

                                                    United States Bankruptcy Court
                                                                   Central District of California

In re
Caruso, Dominic                                                                                                         Case No.
Debtor(s)                                                                                                               Chapter         7


                                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
     rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                            $1,500.00
            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                                 $0.00
            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              $1,500.00

2.   The source of the compensation to be paid to me was:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
3.   The source of compensation to be paid to me is:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
4.   ✔
     ❑   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
     of my law firm.

     ❑   I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates
     of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
          bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                             CERTIFICATION

                           I certify that the foregoing is a complete statement of any agreement or arrangement for
                         payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                         04/15/2019                                       /s/ Anerio Ventura Altman, Esq.
                         Date                                                  Signature of Attorney

                                                                          Lake Forest Bankruptcy
                                                                             Name of law firm
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 58 of 59
Case 8:19-bk-11384-TA   Doc 1 Filed 04/15/19 Entered 04/15/19 21:46:21   Desc
                        Main Document    Page 59 of 59
                               Capital One
                               PO Box 30285
                               Salt Lake City, UT 84130




                               Dell Financial Services LLC
                               Po Box 81607
                               Austin, TX 78708




                               Franchise Tax Board
                               PERSONAL BANKRUPTCY MS A340
                               PO BOX 942867
                               Sacramento, CA 94267



                               Internal Revenue Service
                               Centralized Insolvency Operation
                               Po Box 7346
                               Philadelphia, PA 19101-7346



                               Mr. Cooper
                               Po Box 619098
                               Dallas, TX 75261-9098




                               Real Time Resolutions
                               Attn: Bankruptcy
                               PO Box 36655
                               Dallas, TX 75235-1655



                               Toyota Financial Services
                               Po Box 9786
                               Cedar Rapids, IA 52409




                               Wells Fargo Bank
                               Po Box 14517
                               Des Moines, IA 50306
